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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

        v.
                                                   Case No. 17-cr-00161 (TSC)
 IMRAN AWAN, and
 HINA ALVI

        Defendants.

              CONSENT MOTION TO CONTINUE STATUS CONFERENCE
               AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits this consent motion to continue the status conference

scheduled for June 7, 2018, at 10:00 a.m., to July 3, 2018, and to toll the Speedy Trial Act time in

the interim. In support of this motion, the government submits the following:

       1.      The defendants are charged by indictment with: (1) conspiracy to commit bank

fraud, false statements on a loan or credit application, and unlawful monetary transactions, in

violation of 18 U.S.C. § 371; (2) bank fraud, in violation of 18 U.S.C. § 1344(2); (3) false

statements on a loan or credit application, in violation of 18 U.S.C. § 1040; and (4) and unlawful

monetary transactions, in violation of 18 U.S.C. § 1957.

       2.      The Court scheduled the next status conference in this matter for June 7, 2018, at

10:00 a.m. The parties are currently negotiating a resolution of this matter. The parties expect

that this will be the last joint continuance for purposes of negotiating a resolution and will be

prepared to schedule the matter ahead at the continued status date.

       3.      The government understands the Court is available for a continued status

conference on July 3, 2018. The parties are available that day. Therefore, the parties respectfully

request that the status conference currently scheduled for June 7, 2018, be continued to July 3,
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2018.

        4.      Counsel for both defendants have informed the government that their clients have

agreed to toll the Speedy Trial clock during this continuance. 18 U.S.C. § 3161(h)(7)(A) allows

the Court to exclude a period of time from the Speedy Trial Act calculation if the Court finds “that

the ends of justice served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” In this case, the ends of justice are served by affording the parties

additional time to negotiate a resolution of this matter.

        WHEREFORE, for the foregoing reasons, and for any other such reasons as may appear to

the Court, the government respectfully requests that the Court enter the proposed order continuing

the status hearing to July 3, 2018, and excluding from computation under the Speedy Trial Act the

period of time covered by that continuance.

                                                       Respectfully submitted,

                                                       JESSIE K. LIU
                                                       United States Attorney
                                                       D.C. Bar No. 472845


                                               By:                     /s/
                                                       Michael J. Marando
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                                                       Assistant United States Attorney
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